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                        IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS


UNITED STATES OF AMERICA                      )
                                              )
v.                                            )        No. 4:18-CR-00534-DPM
                                              )
BENNY TAYLOR                                  )

                          JOINT MOTION TO CONTINUE TRIAL

       This case is currently set for trial on September 23, 2019.

       The parties jointly move for a continuance of trial for at least six months on the grounds

that the parties need to complete discovery, including reciprocal discovery of anticipated expert

testimony, and for the purpose of pursuing a possible compromise of the charge.

       The parties further request that the intervening period of delay be excluded purposes of the

Speedy Trial computation in the interest of justice.

       THEREFORE, for the foregoing reasons, the United States, on behalf of both parties,

respectfully requests that the Motion to Continue be granted and that the time be excluded for

purposes for the Speedy Trial Act.

                                                       Respectfully submitted,

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